Case 2:15-cv-01463-JRG-RSP Document 10 Filed 04/06/16 Page 1 of 2 PageID #: 42




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §             Case No: 2:15-cv-1431-JRG-RSP
                                    §
vs.                                 §             LEAD CASE
                                    §
GUARDIAN PROTECTION SERVICES, §
INC.,                               §
                                    §
      Defendant.                    §
___________________________________ §
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §             Case No: 2:15-cv-1463-JRG-RSP
                                    §
vs.                                 §             LEAD CASE
                                    §
ADS SECURITY, LP                    §
                                    §
      Defendant.                    §
___________________________________ §


                       ORDER OF DISMISSAL OF DEFENDANT
                        ADS SECURITY, LP WITH PREJUDICE

       On this day the Court considered Plaintiff’s Amended Unopposed Motion to Dismiss
Defendant ADS Security, LP With Prejudice, in the lawsuit between Plaintiff Rothschild
Connected Devices Innovations, LLC (“Rothschild”) and Defendant ADS Security, LP. Having
considered the Motion and the pleadings in this case, and Plaintiff’s covenant not to sue
Defendant for infringement of U.S. Patent No. 8,788,090, the Court is of the opinion that the
Motion should be, and is hereby, GRANTED.
       It is therefore ORDERED that all claims asserted by Rothschild against ADS Security,
LP are hereby DISMISSED WITH PREJUDICE. All declaratory judgment counterclaims by
Defendant ADS Security, L.P. are DISMISSED WITHOUT PREJUDICE.
Case 2:15-cv-01463-JRG-RSP Document 10 Filed 04/06/16 Page 2 of 2 PageID #: 43



        SIGNED this 3rd day of January, 2012.
        SIGNED this 6th day of April, 2016.




                                                ____________________________________
                                                ROY S. PAYNE
                                                UNITED STATES MAGISTRATE JUDGE
